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                                                                          ORIGINAL
         KENJI M. PRICE # 10523
         United States Attorney
         District of Hawaii

         KENNETH M. SORENSON                                          FILED IN THE
         Chief, Criminal Division                            UNITED STATES DISTRICT COURT
                                                                  DISTRICT OF HAWAII
         MARCA. WALLENSTEIN#l0456
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         TARYN M. MEEKS
         Trial Attorney
         Counterterrorism Section
         National Security Division
         U.S. Department of Justice

                         IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF HAWAll

         UNITED STATES OF AMERICA,          )   CR. NO. 17-00446 SOM
                                            )
                           Plaintiff,       )   MEMORANDUM OF PLEA
                                            )   AGREEMENT
               VS.                          )
                                            )   Date: August 29, 2018
         IKAIKA ERIK KANG                   )   Time: 9:30 a.m.
                                            )   Judge: Hon. Kenneth J. Mansfield
                           Defendant.       )



                          l\IIEMORANDUM OF PLEA AGREElVIENT
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                    MEMORANDUM OF PLEA AGREEMENT

        Pursuant to Rule 11 of the Federal Rules of Criminal Procedure, the

  UNITED STATES OF AMERICA, by its attorney, the United States Attorney for

  the District of Hawaii, and the defendant, IKAIKA ERIK KANG, and his attorneys

  Birney Bervar, Peter Wolff and Alexander Silvert, have agreed upon the following:

                                    THE CHARGES

        1.     The defendant acknowledges that he has been charged in the

  Indictment with violating Title 18, United States Code Section 2339B.

        2.     The defendant has read the charge against him contained in the

  Indictment and those charges have been fully explained to him by his attorneys.

        3.     The defendant fully understands the nature and elements of the crimes

  with which he has been charged.

                                  THE AGREEMENT

        4.     The defendant will enter a voluntary plea of guilty to Counts 1, 2, 3 and

  4 of the Indictment, each count charging him with separate violations of Title 18

  U.S.C. § 2339B by knowingly attempting to provide material support to a foreign

  terrorist organization. In return for his guilty plea to the above charges, the United

  States agrees that it will not charge the defendant with other violations of federal law

  known to it as of the time of the entry of this agreement, including but not limited to

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  violations of the espionage act, 18 U.S.C. §§ 793, 794, 798; violations of other

  terrorism-related statutes; and violations of federal firearms statutes. The parties

  have entered this agreement pursuant to Rule ll(c)(l)(C) of the Federal Rules of

  Criminal Procedure, the specific terms of which are set forth in      if lO(b)   of this

  agreement.

        5.     The defendant agrees that this Memorandum of Plea Agreement shall

  be filed and become part of the record in this case.

        6.     The defendant enters this plea because he is in fact guilty of

  attempting to provide material support to a foreign terrorist organization as charged

  in Counts 1, 2, 3 and 4 of the Indictment, and agrees that his plea to these charges

  is voluntary and not the result of force or threats.

                                       PENALTIES

        7.     The defendant understands that the penalties for the offenses to which

  he is pleading guilty are as follows.

               a. As to each of Counts 1 through 4, a term of imprisonment of not

  more than 20 years, a fine of up to $250,000, plus a term of supervised release of

  any term of years or life.

               b. In addition, the Court must impose a $100 special assessment as to

  each count to which the defendant is pleading guilty. The defendant agrees to pay

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  $100 for each count to which he is pleading guilty to the District Court's Clerk's

  Office, to be credited to said special assessments, before the commencement of any

  portion of sentencing. The defendant acknowledges that failure to make such full

  advance payment in a form and manner acceptable to the prosecution will allow,

  though not require, the prosecution to withdraw from this Agreement at its option.

                            FACTUAL STIPULATIONS

        8. The defendant admits the following facts and agrees that they are not a

  detailed recitation, but merely an outline of what happened in relation to the

  charges to which the defendant is pleading guilty:

               a.    At all times relevant to the charges in this case, the defendant

  was a member of the United States military. Defendant is a Sergeant First Class

  (E-7) in the United States Army and is trained as an air traffic controller. At all

  times relevant to the charges in this case the defendant was assigned to the 25th

  Combat Aviation Brigade, 25th Infantry Division, at Wheeler Army Airfield.

  Within the scope of his duties in the U.S. Army, the defendant held a SECRET

  security clearance, which allowed him to access classified U.S. national defense

  information. Also within the scope of his employment, the defendant was a U.S.

  Army combatives instructor. Defendant was trained in personal hand-to-hand

  fighting techniques, and was trained to teach those fighting techniques to others.

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  Defendant was also trained in the use of small arms, such as knives, pistols and

  assault rifles.

                b.   On or about October 15, 2004, the United States Secretary of

  State designated al- Qaeda in Iraq (AQI), then known as Jam at al Tawid wa' al-

  Jahid, as a Foreign Terrorist Organization (FTO) under Section 219 of the

  Immigration and Nationality Act and as a Specially Designated Global Terrorist

  entity under section l(b) of Executive order 13224.

                c.   On or about May 15, 2014, the Secretary of State amended the

  designation of AQI as an FTO under Section 219 of the Immigration and

  Nationality Act and as a Specially Designated Global Terrorist entity under section

  1(b) of Executive Order 13224 to add the alias Islamic State of Iraq and the Levant

  (ISIL) as its primary name. The Secretary of State also added the following aliases

  to the FTO listing: The Islamic State of Iraq and al-Sham ("ISIS" -which is how

  the FTO will be referenced herein), The Islamic State of Iraq and Syria, ad-Dawla

  al-Islamiyya fi al-Iraq wa-sh-Sham, Daesh, Dawla al Islamiya, and Al-Furquan

  Establishment for Media Production. On September 21, 2015, the Secretary added

  the following aliases to the FTO listing: Islamic State, ISIL, and ISIS. To date,

  ISIS remains a designated FTO.




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               d.    Beginning on a specific date unknown, but at least by early

  2016, the defendant became sympathetic ~o ISIS. By August 2016, Defendant

  regularly watched violent ISIS propaganda videos online. The videos depicted

  ISIS members violently executing civilian and military victims. At that time, ISIS

  was involved in substantial, widespread and sustained military conflict against the

  armed forces of the United States, Iraq, Syria, and a variety of other nations and

  paramilitary groups. The fighting was largely centered in Iraq and Syria. During

  this period, ISIS was also involved in sponsoring, encouraging and aiding its

  members in committing various acts of terrorism worldwide, including mass

  shootings, bombings and vehicular attacks.

               e.    In or about August 2016, the Federal Bureau of Investigation

  (FBI) began an investigation in order to determine whether, and to what extent, the

  defendant presented a threat to other military personnel and members of the public,

  based on his growing sympathies towards ISIS. The FBI gathered information

  from various sources who worked with, knew, or lived with the defendant.

               f.    From in or about August to October 2016, Defendant made

  numerous statements in support of ISIS, and expressed a desire to join ISIS.

  Defendant spoke approvingly about committing acts of violence. At the time,




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  Defendant owned an AR-15-style assault rifle and a pistol, both of which he kept at

  his residence which was off-base and in a residential area of Oahu.

               g.    In or about November 2016, an undercover FBI agent initiated

  contact with the defendant. Defendant told the undercover FBI agent that he

  wanted to teach his combatives skills to members of ISIS. Defendant

  subsequently met other FBI undercover agents who presented themselves to the

  defendant as persons with connections and access to .ISIS.

               h.    On June 21, 2017, during a meeting with undercover FBI

  agents who the defendant believed had connections to ISIS, the defendant provided

  those undercover agents with sensitive, non-public military documents, which the

  defendant intended the undercover agents to provide to ISIS. The sensitive

  military documents provided by the defendant were voluminous in nature and were

  provided in digital format. The documents included, among other things: the U.S.

  military's "weapons file," which describes all the armament capabilities of the U.S.

  armed forces; details about a sensitive mobile airspace management system used

  by the U.S. military; various military manuals, including the Soldiers Manual for

  Common Tasks; and documents containing personally identifiable information of

  U.S. service members. At this time the defendant knew ISIS to be a foreign




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  terrorist organization; knew that ISIS engaged in terrorist activity; and knew that

  the United States was engaged in a military conflict against ISIS.

               1.    On June 23, 2017, during a second meeting with the undercover

  FBI agents, the defendant gave them additional non-public military documents,

  including fourteen (14) documents classified at the SECRET level, 12 of which

  remain classified today. The defendant provided these documents in digital

  format to the undercover agents knowing that the documents were classified, and

  with the knowledge and understanding that the undercover agents would provide

  the documents to ISIS. The documents that defendant hoped to provide to ISIS

  were classified air traffic control documents. The documents described call signs,

  aircraft types, route points, directives, mission procedures, radio frequencies, and

  other. classified information, all of which would have been helpful to ISIS.

               J.    During the period of July 6 through July 8, 2017, the defendant

  met with the same undercover agents at a residential location in Honolulu, Hawaii.

  They introduced the defendant to two additional FBI undercover personnel, one

  who purported to be a high-ranking ISIS leader or "sheikh," and another who

  played the role of an ISIS fighter who was present in order to learn combatives and

  weaponry techniques from the defendant. The defendant and the undercover

  agents had previously agreed to video record the defendant's training sessions with


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   the purported ISIS fighter so that ISIS could then use the video to train other ISIS

   fighters.

                k.     During the two-day period of July 7 and July 8, 2017, while at

   the residential location with the FBI undercover personnel, the defendant provided

   a small aerial drone, a military chest rig (which is a tactical vest), and other

   military-style clothing and gear to the und~rcover personnel, who he believed to be

   members of ISIS. The defendant described for them how they could operationally

   utilize the drone to track U.S. troop movements and gain tactical advantage by

   evading American armored vehicles.

                1.     On July 8, 2017, while at the residential location in Honolulu,

   the defendant conducted a military combatives training session, using the

   purported ISIS fighter as defendant's training opponent and partner. The training

   session was video recorded with the agreement, knowledge and intent of the

   defendant that the video be taken back to ISIS-controlled territory in order to be

   used to train ISIS fighters in hand-to-hand fighting techniques and weapons usage.

                m.     On July 8, 2017, while at the same residential location, the

   defendant swore allegiance to ISIS in an informal ceremony conducted by the

   purported ISIS sheikh. During the ceremony, the defendant swore an oath of

   loyalty, known as "bayat," to the leader of ISIS, Abu Bakr al-Baghdadi.


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 Defendant swore the oath in both English and Arabic. Defendant then accepted

 and kissed an ISIS flag that was given to him as a gift by the purported ISIS

 sheikh.

              n.     The defendant agrees that the sensitive and classified military

 documents that he provided to the undercover agents, and the gear and training that

 he provided to the purported ISIS fighter, were provided by defendant with the

 intent to aid ISIS, a designated foreign terrorist organization. The defendant

 further agrees that the materials and training that he provided constituted an

 attempt by the defendant to provide material assistance and support to ISIS.

              9. Pursuant to CrimLR 32. l(a) of the Local Rules of the United

 States District Court for the District of Hawaii, the parties agree that the charges to

 which the defendant is pleading guilty adequately reflect the seriousness of the

 actual offense behavior and that accepting this Agreement will not undermine the

 statutory purposes of sentencing. The charges to which the defendant is pleading

 guilty reflect the essence of his conduct.

                          SENTENCING STIPULATIONS

              10.   Pursuant to CrimLR 32.l(a) of the Local Rules of the United

 States District Court for the District of Hawaii and Section 6Bl.4 of the Sentencing

 Guidelines, the parties stipulate to the following for the purpose of the sentencing


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 of the defendant in connection with this matter.

               a.    Factual stipulations: The parties stipulate to the facts set forth

 in Paragraph 8 of this agreement.

               b.    Rule 1 l(c)(l)(C): This Plea Agreement is entered into

 pursuant to Rule 1l(c)(l)(C) of the Federal.Rules of Criminal Procedure, which

 authorizes the parties to agree that a specific sentence is the appropriate disposition

 of the case. The government and the defendant agree that the defendant shall

 serve a period of imprisonment of twenty-five (25) years for the violations set forth

 in Counts 1, 2, 3 and 4 of the Indictment. The parties agree that the Court shall

 apportion the twenty-five (25) year sentence among the four (4) counts of

 conviction at its discretion. The parties also agree that the government will seek a

 lifetime term of supervised release, and the defendant will not seek less than a 20

 year term of supervised release, at sentencing. The parties agree that no fine shall

 be imposed.

               c.    Defendant understands that, pursuant to Rule 11 (c)(3) of the

 Federal Rules of Criminal Procedure, the Court may accept this Agreement, reject

 it, or defer a decision until the Court has reviewed the presentence report. If the

 Court accepts the Plea Agreement, it' will inform the Defendant that the agreed

 upon disposition of a sentence as set forth above will be included in the judgment.


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              d. The parties agre~ that if the Court rejects the agreed upon

 sentencing range, the Defendant has the right to withdr~w his plea of guilty

 pursuant to Federal Rule of Criminal Procedure l l{c)(5)(B). In addition, the

 parties agree that ifthe Court rejects the agreed upon sentence, the United States

 shall have the right to withdraw from the Plea Agreement.

              e. The parties stipulate that this agreement reflects the parties'

 deliberative review of the Title 18, U.S.C. § 3553(a) sentencing factors, the

 possible guideline sentencing ranges applicable to the facts of this case, and a

 review of evidentiary and legal issues impacting the case. Based upon a review of

 these factors, the parties agree that the agreed upon disposition is appropriate and

 does not undermine the statutory purposes of sentencing.

              f.     The United States Attorney agrees that the defendant's

 agreement herein to enter into this agreement constitutes notice of intent to plead

 guilty in a timely manner, so as to permit the government to avoid preparing for

 trial as to the defendant. Accordingly, the United States Attorney anticipates

 moving in the Government's Sentencing Statement for a one-level reduction in

 sentencing offense level pursuant to Guideline § 3E 1.1 (b)(2), if the defendant is

 otherwise eligible. The defendant understands that notwithstanding its present

 intentions, and still within the Agreement, the prosecution reserves the rights ( 1) to


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 argue to the contrary in the event of receipt of new information relating to those

 issues, and (2) to call and examine witnesses on those issues in the event that either

 the United States Probation Office finds to the contrary of the prosecution's

 intentions or the Court requests that evidence be presented on those issues.

                                  DISPUTED FACTS

              11. Because this agreement is entered into pursuant to Fed. R. Crim.

 Proc. Rule 1 l(c)(l)(C), the parties have not identified any specific areas of dispute

 under the Sentencing Guidelines as contemplated by USSG § 6B 1.4.

                        APPEAL/COLLATERAL REVIEW

              12.    The defendant is aware that he has the right to appeal his

 conviction and the sentence imposed. The defendant knowingly waives the right

 to appeal his conviction and sentence, or the manner in which the sentence was

 determined, on any ground whatsoever, in exchange for the concessions made by

 the prosecution in this Agreement. The defendant understands that this waiver

 includes, but is not limited to, the right to assert any constitutional challenges to

 the defendant's conviction and guilty plea on appeal or collateral review, including

 any arguments that the statute to which the defendant is pleading guilty is

 unconstitutional, and any claim that the statement of facts provided in this

 Agreement are insufficient to support the defendant's guilty plea.


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              a. The defendant also waives the right to challenge his conviction or

 sentence or the manner in which it was determined in any collateral attack,

 including, but not limited to, a motion brought under Title 28, United States Code,

 Section 2255, except that the defendant may make such a challenge based on a

 claim of ineffective assistance of counsel.

                          IMPOSITION OF SENTENCE

              13. The defendant understands that the District Court in imposing

 sentence will consider the provisions of the Sentencing Guidelines. The defendant

 agrees that there is no promise or guarantee of the applicability or non-applicability

 of any Guideline or any portion thereof, notwithstanding any representations or

 predictions from any source.

              14. The defendant understands that this Agreement will not be

 accepted or rejected by the Court until there has been an opportunity by the Court

 to consider a presentence report, unless the Court decides that a presentence report

 is unnecessary. The defendant understands that the Court will not accept an

 agreement unless the Court determines that charges adequately reflect the

 seriousness of the actual offense behavior, and accepting the Agreement will not

 undermine the statutory purposes of sentencing.




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                           WAIVER OF TRIAL RIGHTS

              15. The defendant understands that by pleading guilty he surrenders

 certain rights, including the following:

              a.     If the defendant persisted in a plea of not guilty to the charges

 against him, then he would have the right to a public and speedy trial. The trial

 could be either a jury trial or a trial by a judge sitting without a jury. The

 defendant has a right to a jury trial. However, in order that the trial be conducted

 by the judge sitting without a jury, the defendant, the prosecution, and the judge all

 must agree that the trial be conducted by the judge without a jury.

              b.     If the trial is a jury trial, the jury would be composed of twelve

 laypersons selected at random. The defendant and his attorney would have a say

 in who the jurors would be by removing prospective jurors for cause where actual

 bias or other disqualification is shown, or without cause by exercising peremptory

 challenges. The jury would have to agree unanimously before it could return a

 verdict of either guilty or not guilty. The jury would be instructed that the

 defendant is presumed innocent, and that it could not convict him unless, after

 hearing all the evidence, it was persuaded of his guilt beyond a reasonable doubt.

              c.     If the trial is held by a judge without a jury, the judge would

 find the facts and determine, after hearing all the evidence, whether or not he or


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 she was persuaded of the defendant's guilt beyond a reasonable doubt.

              d.     At a trial, whether by a jury or a judge, the prosecution would

 be required to present its witnesses and other evidence against the defendant. The

 defendant would be able to confront those prosecution witnesses, and his attorney

 would be able to cross-examine them. In tum, the defendant could present

 witnesses and other evidence on his own behalf. If the witnesses for the defendant

 would not appear voluntarily, the defendant could require their attendance through

 the subpoena power of the Court.

              e.     At a trial, the defendant would have a privilege against

 self-incrimination so that he could decline to testify, and no inference of guilt

 could be drawn from his refusal to testify.

              16.    The defendant understands that by pleading guilty, he is waiving

 all of the rights set forth in the preceding paragraph. The defendant's attorney has

 explained those rights to him, and the consequences of the waiver of those rights.

                           USE OF PLEA STATEMENTS

              17.    If, after signing this Agreement, the defendant decides not to

 plead guilty as provided herein, or if the defendant pleads guilty but subsequently

 makes a motion before the Court to withdraw his guilty plea after the Court has

 accepted the plea agreement in this case, the defendant agrees that any admission of


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 guilt that he makes by signing this Agreement or that he makes while pleading

 guilty as set forth in this Agreement may be used against him in a subsequent trial if

 the defendant later proceeds to trial. The defendant voluntarily, knowingly, and

 intelligently waives any protection afforded by Rule 11 (t) of the Federal Rules of

 Criminal Procedure and Rule 410 of the Federal Rules of Evidence regarding the

 use of statements made in this Agreement or during the course of pleading guilty

 when the guilty plea entered is later withdrawn. The onlv exception to this

paragraph is where the defendant fully complies with this Agreement but the Court

 nonetheless rejects it. Under those circumstances, the United States may not use

 the defendant's statements either at trial, or in pretrial proceedings, for any purpose.

              18.    The defendant understands that the prosecution will apprise the

 Court and the United States Probation Office of the nature, scope and extent of the

 defendant's conduct regarding the charges against him, related matters, and any

 matters in aggravation or mitigation relevant to the issues involved in sentencing.

              19.    The defendant and his attorney acknowledge that, apart from

 any written proffer agreements, if applicable, no threats, promises, agreements or

 conditions have been entered into by the parties other than those set forth in this

 Agreement, in order to induce the defendant to plead guilty. Apart from any




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   written proffer agreements, if applicable, this Agreement supersedes all prior

   promises, agreements or conditions between the parties.

                          20.    To become effective, this Agreement must be signed by all

   signatories listed below.

                          21.    Should the Court refuse to accept this Agreement, it is null and

   void and neither party shall be bound thereto.

                                                         _ _-z
                          DATED: Honolulu, Hawaii, _ _A_u_~ _   ,_
                                                              ~"'--   _1_
                                                                    Zt:J '7_ __

   AGREED:

   KENJI M. PRICE
   United States Atto1ney
   District of Hawaii



   KENNETH M. SORENSON                                     IKAIKA ERIK KANG
   Chief, Criminal Division                                Defendant



   MARC A. WALLENSTEIN
   Assistant U.S. Attorney
                                                        ~- Attorney for Defendant

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%( TARYN M. MEEKS
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                                                           ALEXANDER SILVERT
   Trial Attorney                                          Federal Public Defender
   Counterterrorism Section                                Attorney for Defendant
   National Security Division
   U.S. Department of Justice

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